Case 1:10-cr-00384-LEK Document 1268 Filed 12/19/19 Page 1 of 2                 PageID #: 8636

                                  MINUTE ORDER



  CASE NUMBER:             CRIMINAL NO. 10-00384-6 LEK
  CASE NAME:               USA vs. Wesley Mark Sudbury


        JUDGE:      Leslie E. Kobayashi            DATE:             12/19/2019

 COURT ACTION: EO: COURT ORDER REGARDING THE RELIGIOUS FREEDOM
 RESTORATION ACT AFFIRMATIVE DEFENSE

        On April 1, 2013, Defendants Roger Cusick Christie and Sherryanne L. Christie,
 formerly known as Sherryanne L. St. Cyr (collectively “the Christies”), filed a joint
 Motion in Limine to Present Religious Freedom Restoration Act Defense (“RFRA
 Motion”). [Dkt. no. 587.] An evidentiary hearing on the RFRA Motion was held on
 August 27, 2013. [Minutes, filed 8/27/13 (dkt. no. 686).] On December 30, 2013, two
 orders were issued addressing the RFRA Motion. [Dkt. nos. 810 (“Preliminary RFRA
 Order”), 811 (“Final RFRA Order”).]

         In the Preliminary RFRA Order, this Court found that the Christies established a
 prima face case under RFRA, and therefore the burden of persuasion shifted to Plaintiff
 United States of America (“the Government”) to prove that: it had a compelling interest
 in applying the Controlled Substances Act (“CSA”), 21 U.S.C. § 801, et seq., to the
 Christies; and that its restriction on the Christies’ exercise of their religion was the least
 restrictive means to further that interest. [Preliminary RFRA Order at 9, 16.] In the Final
 RFRA Order, this Court found that the Government established both a compelling interest
 and that the prosecution of the Christies in the instant case was the least restrictive means
 necessary to further that interest. The Christies’ RFRA Motion was therefore denied, and
 the Christies were not permitted to present a RFRA defense at trial. [Final RFRA Order
 at 28.] The Christies entered conditional guilty pleas, reserving the right to appeal certain
 rulings, including the rulings on the RFRA Motion. See, e.g., Mem. of Plea Agreement
 [Roger Cusick Christie], filed 9/27/13 (dkt. no. 742), at ¶ 5F(4). The Ninth Circuit
 affirmed the judgments against the Christies, expressly rejecting the Christies’ RFRA
 defense. United States v. Christie, 825 F.3d 1048, 1064, 1069 (9th Cir. 2016).

        The rulings that the Government has a compelling interest in enforcing the CSA
 and that the prosecution in this case is the least restrictive means necessary to further that
 compelling interest are the law of the case. See United States v. Jingles, 702 F.3d 494,
 498 (9th Cir. 2012) (some citations omitted) (citing In re Rainbow Magazine, Inc., 77
 F.3d 278, 281 (9th Cir. 1996) (“[T]he decision of an appellate court on a legal issue must
 be followed in all subsequent proceedings in the same case[.]”)). Thus, it is not necessary
 to determine whether Defendant Wesley Mark Sudbury (“Sudbury”) can establish a prima
 facie case under RFRA because, even if he could do so, the compelling interest and least
Case 1:10-cr-00384-LEK Document 1268 Filed 12/19/19 Page 2 of 2              PageID #: 8637

 restrictive means rulings regarding the Christies’ RFRA Motion also apply to Sudbury
 because they are the law of the case. Sudbury therefore will not be permitted to present a
 RFRA defense at trial, for the reasons set forth in the Preliminary RFRA Order, the Final
 RFRA Order, and the Ninth Circuit’s opinion in the Christies’ appeal.

       IT IS SO ORDERED.

 Submitted by: Agalelei Elkington, Courtroom Manager
